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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

vs.                                    CASE NO. 4:05CR00141GH
RUTHIE MAE LITTLES                                                             DEFENDANT

                                             ORDER

         On motion of the government, for good cause, the judgment is amended to include the
forfeiture of the seized items as recited in the Indictment.
         IT IS SO ORDERED this 18th day of October, 2006.


                                                       ___________________________________
                                                       UNITED STATES DISTRICT JUDGE




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